Case 1:16-cv-01090-NGG-TAM Document 63-2 Filed 05/03/23 Page 1 of 53 PageID #: 504




                                  EXHIBIT A
Case 1:16-cv-01090-NGG-TAM Document 63-2 Filed 05/03/23 Page 2 of 53 PageID #: 505



   UNITED STATES DISTRICT COURT
   EASTERN DISTRICT OF NEW YORK




                                                     X    Civil Action: 16-CV-1090

   UNITED STATES OF AMERICA,                              FILED UNDER SEAL PURSUANT
   ex rel, YNKDY-2,                                       TO 31 U.S.C. § 3730 (b)(2)

   STATE OF NEW YORK,                                     THIRD AMENDED COMPLAINT
   ex rel, YNKDY-2,                                       FOR VIOLATIONS OF FEDERAL
                                                          FALSE CLAIMS ACT
   STATE OF NEW JERSEY,
   ex rel YNKDY-2,                                        JURY TRIAL DEMANDED

                 Relator,
          v.

   Shiel Medical Laboratory; Shiel Holdings, LLC; :
   Fresenius Medical Care; BIM Medical, Inc.;         .
   Jack Basch; Fresenius Medical Care Holdings, Inc.;
   Spectra Holdco, LLC; Does 3-10, Inclusive, et al., :

                 Defendants.
                                                     X




                                                 1
Case 1:16-cv-01090-NGG-TAM Document 63-2 Filed 05/03/23 Page 3 of 53 PageID #: 506



           1.      Relator brings this action against defendants pursuant to the False Claims Act, 31

    U.S.C. §3729 et. seq. ("FCA"), seeking treble damages and civil penalties.

           2.      Shiel Medical Laboratory was founded in 1962 and was purchased by Jack Basch,

    Michael Inzlicht, and Arthur Meisels in 1994. Its gross receivables and net revenue grew rapidly, to

    the point where the laboratory business was purchased by Fresenius Medical Care of North America

    (hereafter, "Fresenius") in 2013 for nearly a quarter of a billion dollars. In November of 2013, S

    became BIM Medical, Inc. Its President Chief Executive Officer is Jack Basch.

           3.      Shiel performs laboratory testing which, when used appropriately, informs physicians

    and other health care providers of chemical and biochemical changes in a patient' s body.When properly

   used, this information can be useful to the diagnosis and treatment of disease.

           4.      Since at least 1996, Shiel has knowingly submitted hundreds of millions of dollars in

   false claims to the Medicare and New York and New Jersey Medicaid programs for tests that were

   not reasonable and necessary or that were furnished pursuant to prohibited referrals that resulted from

   Shiel's improper financial relationships with physicians and with skilled nursing facilities, in

   violation of the physician self-referral prohibition, 42 U.S.C. § 1395nn (commonly known as the

   "Stark Law"), and the Anti-Kickback Statute, 42 U.S.C. § 1320a-7b(b).

           5.     As Defendants knew, Medicare only covers tests that are reasonable and necessaryfor

   the treatment or diagnosis of an individual patient's illness or injury, based on his or her medical

   condition. 42 U.S.C. § 1395y(a)(1)(A). The need for each test for each patient must be individually

   assessed and documented in the patient's medical chart. 42 C.F.R. §§ 410.32(a), (d)(2). Defendants

   nonetheless sought to, and did, cause many physicians to routinely order extensive and expensive

   laboratory tests merely to make more money.




                                                  2
Case 1:16-cv-01090-NGG-TAM Document 63-2 Filed 05/03/23 Page 4 of 53 PageID #: 507



           6.      Shiel also paid illegal kickbacks to physicians and nursing homes in the free

    advertising, computer and hardware purchases to facilitate the shift to electronic medical records,

    gifts, parties, and expensive meals. In addition, Shiel offered kickbacks in the form ofsubstantial

    discounts to nursing homes on their Medicare Part A lab tests in exchange for an exclusive contract

    to Shiel to do all the lab work for the nursing homes' Medicare Part B patients. Relator's principal

    was responsible for negotiating these discounts and therefore had personal knowledge of these

    kickbacks for the last twenty years.

    I.   JURISDICTION, VENUE, PARTIES

           7.      This action arises under the FCA, as amended, 31 U.S.C. §§ 3729-33, and under

    common law theories of payment by mistake of fact and unjust enrichment. This Courthas jurisdiction

    over this action under 31 U.S.C. § 3730(a) and 28 U.S.C. §§ 1345 and 1367(a).

           8.      Venue is proper in this Eastern District of New York pursuant to 28 U.S.C.

    § 1391(b) and 31 U.S.C. § 3732(a).

           9.      This Court may exercise personal jurisdiction over Defendant pursuant to 31

    U.S.C. § 3732(a) and because Defendant resides and transacts business in this District.

           10.     Relator is a California corporation whose principal held a senior position withinShiel

    and who has direct and personal knowledge of the matters alleged herein. Before this suit was filed,

    Relator's principal and agent (Relator's Principal / Agent and Relator are collectively and individually

    referred to as "Relator") voluntarily and on his own initiative contacted federal law enforcement and

   submitted evidence of Defendants' wrongdoing.

           11.     Defendant Shiel Medical Laboratory was a private corporation incorporated in the

    State of New York in with its principal place of business in Brooklyn, New York.




                                                   3
Case 1:16-cv-01090-NGG-TAM Document 63-2 Filed 05/03/23 Page 5 of 53 PageID #: 508



            12.    Defendant BIM Medical, Inc., is another private corporation incorporated in the

    State of New York with its principal place of business in Brooklyn, New York. It was owned by

    Jack Basch, Michael Inzlicht, and Arthur Meisels, the same partners who owned and sold Shiel

    Medical Laboratories.

            13.   Defendant Fresenius Medical Care is a publicly traded corporation incorporatedin

    Germany with its principal place of business in Bad Homburg, Germany. Its principal

    headquarters in the United States is in Waltham, Massachusetts, from which it conducts a

    nationwide health care business which last year generated $15.8 billion in revenue.

            14.    Defendant Shiel Holdings, LLC is a private limited liability company registered

    in the State of Delaware with its principal place of business in Waltham, Massachusetts.

            15.    Defendant Jack Basch is an individual residing within the Eastern District of New

    York.

            16.    Defendant Fresenius Medical Care Holdings, Inc. was alleged as a Doe defendant

    in earlier iterations of this Complaint. However, Plaintiffs have discovered evidence which

    warrants naming Fresenius Medical Care Holdings, Inc. herein for the following reasons:

              (a) Defendant Fresenius Medical Care Holdings, Inc. is a holding company, which,

                  through its subsidiaries, provides global healthcare services. In 2013, this

                  Defendant acquired Shiel;

              (b) On November 18, 2016, this Defendant received a subpoena under the False

                  Claims Act from the United States Attorney for this Court;

              (c) In the course of preparing to respond to the subpoena, Fresenius "identified

                  falsifications and misrepresentations in documents submitted by a Shiel




                                                 4
Case 1:16-cv-01090-NGG-TAM Document 63-2 Filed 05/03/23 Page 6 of 53 PageID #: 509



                 salesperson that relate[d] to the integrity of certain invoices submitted by Shiel for

                 laboratory testing for patients in long term care facilities," Fresenius, Annual

                 Report 2021 344 (2022);

             (d) Fresenius terminated the employee and notified the United States Attorney of the

                 termination (and the circumstances leading to the termination) on February 21,

                 2017; and

             (e) Fresenius terminated the employee, but Fresenius understood that the terminated

                 employee's conduct was expected to result in demands for Fresenius to refund

                 overpayments and to pay related penalties under applicable laws, though the

                 monetary value of such payment demands could not yet be reasonably estimated.

           17.    Defendant Spectra Holdco, LLC was alleged as a Doe defendant in earlier

    iterations of this Complaint. However, Plaintiffs have discovered evidence which warrants

    naming Spectra Holdco, LLC herein for the following reasons:

             (a) Spectra Holdco, LLC is a limited liability company, registered in the State of

                 Delaware, which is related to Defendants Shiel Medical Laboratory and Fresenius

                 Medical Care Holdings, Inc. and which appears to operate as a holding company

                 in the Fresenius network;

             (b) Spectra Holdco, LLC has the same address as Fresenius Medical Care North

                 America, located in Waltham, Massachusetts;

             (c) In an email correspondence on September 19, 2022, Fresenius counsel stated that

                 it would be willing to accept service on behalf of the properly named defendants,

                 "Spectra Holdco, Inc." and "Fresenius Medical Care Holdings, Inc."; and




                                                 5
Case 1:16-cv-01090-NGG-TAM Document 63-2 Filed 05/03/23 Page 7 of 53 PageID #: 510



                (d) In a later email correspondence on September 22, 2022, Fresenius counsel

                   clarified that the properly named defendants were "Spectra Holdco, LLC" and

                   "Fresenius Medical Care Holdings, Inc."

           18.      Each and every one of the remaining fictitiously named Doe Defendants is an

    individual or corporation which has submitted or caused the submission of false claims, acting

    in concertwith one or more of the other defendants.

           19.      Relator is informed and believes and based thereon alleges that each and every

    one of the defendants has acted as the agent, director, or co-venturer of every other defendantto

    submit or cause the submission of false claims to the United States and to the States of NewYork

    and New Jersey.

    II.   LAW

           A.       The Federal False Claims Act

           20.      The FCA provides, in pertinent part, that a person who:




                                                  6
Case 1:16-cv-01090-NGG-TAM Document 63-2 Filed 05/03/23 Page 8 of 53 PageID #: 511



                 (a) knowingly presents, or causes to be presented, a false or
                 fraudulent claim for payment or approval; [or]

                 (b) knowingly makes, uses, or causes to be made or used, a false
                 record or statement material to a false or fraudulent claim; . . .

                  is liable to the United States Government for a civil penalty of not
                  less than $5,000 and not more than $10,000, as adjusted by the
                  Federal Civil Penalties Inflation Adjustment Act of 1990 (28
                  U.S.C. 2461 note; Public Law 104-410), plus 3 times the amount of
                  damages which the Government sustains . . . .

    31 U.S.C. § 3729(a)(1).1

           21.    For purposes of the FCA,

                  (1) the terms "knowing" and "knowingly"—

                  (A) mean that a person, with respect to information—

                          (i) has actual knowledge of the information;

                          (ii) acts in deliberate ignorance of the truth or
                          falsity of the information; or

                          (iii) acts in reckless disregard of the truth or falsity
                          of the information; and

                  (B) require no proof of specific intent to

   defraud[.] 31 U.S.C. § 3729(b)(1).

           22.    An overpayment is a payment by a federal entity to a provider or supplier inexcess

   of what was due and payable. An overpayment may include payment for non-covered




            1The FCA was amended pursuant to Public Law 111-21, the Fraud Enforcement and
   Recovery Act of 2009 ("FERA"), enacted May 20, 2009. Sections 3729(a)(1) of the prior statute
   applies to conduct that occurred before FERA was enacted, and Section 3729(a)(1)(A) ofthe
   revised statute applies to conduct after FERA was enacted. Section 3729(a)(1)(B) is applicable
   to all claims in this case by virtue of Section 4(f) of FERA.



                                                    7
Case 1:16-cv-01090-NGG-TAM Document 63-2 Filed 05/03/23 Page 9 of 53 PageID #: 512



   items or services including services that are not reasonable and necessary in accordance with

   the Medicare rules. An overpayment may be received through an innocent billing error or

   through a mistake of the contractor. 42 U.S.C. Section 1320a -7k(d)(1) warns that "returning

   the overpayment . . . is an obligation (as defined in 3729(b)(3) of title 31 for purposes of section

   3729 of such title."

           23.     As of May 24, 2010, the effective day of the legislation that established

   subsection 7k(d)(1), each day that a provider retains an overpayment, it is violating the Federal

   False Claims Act.

          24.     A refusal to calculate or estimate the amount of overpayment refunds owed is

   a separate violation of 31 U.S.C. §3729(b)(3) of the False Claims Act.

           B.     The Medicare and Medicaid Programs

                  1.      The Medicare Program

          23.     In 1965, Congress enacted Title XVIII of the Social Security Act, 42 U.S.C. §

   1395 et seq., known as the Medicare program. Entitlement to Medicare is based on age,

   disability, or affliction with end-stage renal disease. 42 U.S.C. §§ 426, 426-1. CMS administers

   the Medicare program. At all times relevant to this complaint, CMS contracted with private

   contractors, referred to as "fiscal intermediaries," "carriers," and Medicare Administrative

   Contractors ("MACs"), to act as agents in reviewing and paying claims submitted by health

   care providers. 42 U.S.C. §§ 1395h, 1395u; 42 C.F.R. §§ 421.3, 421.100, 421.104. The

   Medicare program consists of four parts: A, B, C, and D. Defendants billed Medicare under

   Part B, which covers certain medical services, such as clinical laboratory test services,

   furnished by physicians and other providers and suppliers. 42 U.S.C. § 1395k(a)(2)(B).




                                                    8
Case 1:16-cv-01090-NGG-TAM Document 63-2 Filed 05/03/23 Page 10 of 53 PageID #: 513



           24.     To continue to participate in the Medicare program as an enrollee, clinical

    laboratories, such as Shiel were required to submit a Medicare Enrollment Application.

           25.     Laboratories also complete Form CMS-855B to change information or to

    reactivate, revalidate and/or terminate Medicare enrollment.

           26.     Medicare regulations require providers and suppliers to certify that they meet,

    and will continue to meet, the requirements of the Medicare statute and regulations. 42 C.F.R.

    § 424.516(a)(1).

           27.     An authorized official must sign the "Certification Section" in Section 15 of

    Form CMS-855B, which "legally and financially binds [the] supplier to all of the laws,

    regulations, and program instructions of the Medicare program."

           28.     Relator is informed and believes and based thereon alleges that authorized

    officials for Shiel Medical Laboratory and later Fresenius signed the certification statement in

    Section 15 of Form CMS-855B, indicating that they understood that the laboratory was

    required to comply with Medicare laws, regulations, and program instructions, which include,

    but are not limited to, the Stark Law and the Anti-Kickback Statute.

           29.     The National Provider Identifier ("NPI") is a standard and unique health

    identifier for health care providers. All providers and practitioners must have an assigned NPI

    number prior to enrolling in Medicare.

           30.     To obtain Medicare and Medicaid reimbursement for certain outpatient items or

    and services, providers and suppliers submit a claim form known as the CMS 1500 form

    ("CMS1500") or its electronic equivalent known as the 837P form. The information the

    provider or supplier includes on a CMS 1500 or 837P form are certain five-digit codes,

    including Current Procedural Terminology Codes ("CPT codes") and Healthcare Common




                                                   9
Case 1:16-cv-01090-NGG-TAM Document 63-2 Filed 05/03/23 Page 11 of 53 PageID #: 514



    Procedure Coding System ("HCPCS") Level II codes, that identify the services rendered and for

    which reimbursement is sought, and the unique billing identification number of the"rendering

    provider" and the "referring provider or other source."

            31.     Beginning in 1996, laboratories submitting bills to Medicare were required to

    ensure that the ordering physician had identified the specific medical condition which justified

    the laboratory test or tests. The medical condition was to be described using the International

    Classification of Diseases, Edition 9 (ICD-9), which coded different disease states2. The ICD-

    9 code used to justify the laboratory test must be kept on file by the clinical laboratory.

            32.     Medicare Part A authorizes the payment of federal funds for hospitalization and

    post-hospitalization care. 42 U.S.C.§ 1395c-1395i-2(1992). Medicare Part B authorizes the

    payment of federal funds for medical and other health services, including without

    limitation physician services, supplies and services incident to physician services, labor

    tory services, outpatient therapy, diagnostic services, and radiology services. 42 U.S.C. §

    1395(k), (i), (s).

           33.     For enrollees of Medicare and other federal insurance programs, Part A of

    the program provides coverage for up to 100 days for skilled therapy services provided to

    a beneficiary while inpatient in a SNF. For Medicare Part A patients, Medicare reimburses

    the SNF on a prospective payment system (PPS) with the prospective payments adjusted

    to take into consideration the patient's acuity and likely care needs. Payment for lab

    services under Part A are included in the SNF PPS rate.




           2Beginning Octoberl, 2015, CMS required that the new, ICD-10 codes be used instead.


                                                    10
Case 1:16-cv-01090-NGG-TAM Document 63-2 Filed 05/03/23 Page 12 of 53 PageID #: 515



            34.     Part B of the Program provides coverage for skilled therapy to beneficiaries who

    have either exhausted their Part A benefit or are not otherwise entitled to Part A coverage. Lab

    services for Medicare patients covered under Part B are either billed directly by the laboratory

    providing the services or, if the SNF provides the services itself (and is properly qualified under

    the Clinical Laboratory Improvement Act) the SNF may directly bill Medicare for the services.

    In addition to the Medicare fee schedules for the tests, the laboratories may also bill for

    obtaining the specimen and for travel to the SNF patient.

            35.    Because a SNF which receives PPS reimbursement for Part A patients is being

    paid for the anticipated cost of lab services, the SNF is then financially liable for lab services

    those patients require.

           36.     Medicare requires that each request for payment or bill submitted for an item

    or service payable under Medicare Part B include the name and unique physician

    identification number for the referring physician. 42 U.S.C. § 13951(q)(1).

           37.     From 2007 to the present, National Government Services (NGS) has been

    responsible for processing Medicare Part B claims in New York. As Defendants performed all

    of its tests at facilities in New York, it submitted all claims to NGS.

    III.   LOCAL COVERAGE DETERMINATIONS (LCDs)

           38.     The U.S. Department of Health and Human Services (HHS) and the Centers

    for Medicare and Medicaid Services (CMS) promulgate federal regulations and National

    Coverage Determinations (NCDs) upon which Medicare Fiscal Intermediaries/carriers rely to

    make coverage determinations for claims for medical services and items provided to

    beneficiaries. HHS adopts NCDs to exclude certain items and services from coverage on a

    national level that are not reasonable and necessary under HHS's interpretation of the



                                                    11
Case 1:16-cv-01090-NGG-TAM Document 63-2 Filed 05/03/23 Page 13 of 53 PageID #: 516



    Medicare Act. Federal regulations and NCDs are binding on all MACs nationwide. (42 U.S.C.

    1395ff(f)(1)(B).

            39.       In the absence of a NCD, Fiscal Intermediaries/Carriers, now Medicare

    Administrative Contractors (MACs) and their divisions such as the DMERCs, were authorized

    to establish policies now known as (LMRPs) Local Coverage Determinations (LCDs).

            40.       When a service is not governed by a NCD, each Carrier could issue an LCD

    identifying indications and limitations of coverage and payment. See 42 U.S.C. 1395kk-

    1 (a)(4).

                41.   LCDs establish specific criteria for initial and continued coverage of a service

   and identify circumstances under which Medicare will deny coverage for a service as not

   reasonable and necessary. See 42 C.F.R. §400.202. The Social Security Act defines Local

   Coverage Determination as:

                      (B) Definition of local coverage determination.
                      For purposes of this section, the term "local coverage
                      determination" means a determination by a fiscal intermediary or a
                      carrier under part A or part B, as applicable, respecting whether or
                      not a particular item or service is covered on an intermediary or
                      carrier-wide basis under such parts, in accordance with section
                      1862(a)(1)(A). 42 U.S.C.
                      §1395ff (f)(2)(B).

            42.       Each of MACs publishes and provides LCDs to the providers in its region.

            43.       Medicare does not pay for medical treatments or diagnostic services that are

    not reasonable and necessary. 42 U.S.C. §1395y(a)(1)(A), 42 CFR §411.15(k).

            44.       CMS publishes a Medicare Program Integrity Manual which instructs the MACs

    that when determining whether a treatment is reasonable and necessary under section

    1395(y)(a)(1)(A), they may apply the so-called "reasonably feasible and medically appropriate,




                                                      12
Case 1:16-cv-01090-NGG-TAM Document 63-2 Filed 05/03/23 Page 14 of 53 PageID #: 517



    least costly" alternative policy. (Chapter 13.4.A, Rev. 71, April 9, 2004). Chapter 13 of the

    Medicare Program Integrity Manual provides the following detailed information regarding

    LCDs:

                   13.1.3 - Local Coverage Determinations (LCDs)
                   (Rev. 165, Issued: 10-06-06, Effective: 09-11-06, Implementation:
                   10-26-06)

                   Section 522 of the Benefits Improvement and Protection Act
                   (BIPA) created the term "local coverage determination" (LCD).
                   An LCD is a decision by a Medicare administrative contractor
                   (MAC), fiscal intermediary or carrier whether to cover a particular
                   service on a MAC-wide, intermediary wide or carrier-wide basis
                   in accordance with Section 1862(a)(1)(A) of the Social Security
                   Act (i.e., a determination as to whether the service is reasonable
                   and necessary).


                   2.      The New York Medicaid Program

            45.    The New York State Medicaid Program is authorized by Title XIX of the Social

    Security Act. 42 U.S.C. §§ 1396 et seq. Medicaid is a joint federal-state program that provides

    healthcare benefits, including laboratory services coverage, for certain groups including the poor

    and disabled. The New York Medicaid program is required to implement a "State Plan"

    containing certain specified minimum criteria for coverage and payment of claims in order to

    qualify for federal funds for Medicaid expenditures. 42 U.S.C. § 1396a. The federal portion of

    each state's Medicaid payments, known as the Federal Medical Assistance Percentage, is based

    on a state's per capita income compared to the national average. 42 U.S.C. § 1396d (b).

                   Medicaid guidance, (e.g., the "New York Medicaid Provider
                   Manual for Laboratory Services) is issued to give Medicaid
                   providers the policies and procedures needed to properly bill and
                   be appropriately paid for covered services provided to eligible
                   New York Medicaid recipients. Physicians and laboratories certify
                   in their state Medicaid provider enrollment forms that they will
                   comply with all federal and state laws applicable to Medicaid.




                                                   13
Case 1:16-cv-01090-NGG-TAM Document 63-2 Filed 05/03/23 Page 15 of 53 PageID #: 518



                   New York's "Medicaid Provider Enrollment Application" must
                   be completed by any person or entity desiring to receive payment
                   for services provided to Medicaid recipients. To be eligible to
                   receive direct or indirect payments for services rendered to New
                   York Medicaid Program recipients, a provider must certify that the
                   provider understands "that false claims, statements, documents, or
                   concealment of material facts may be prosecuted under applicable
                   federal and state laws."

    New York Provider Enrollment Application, Section VII, Certification,

           46.      The New York Medicaid Provider Laboratory Handbook warns that Medicaid

    does not pay for services unless they are medically necessary as evident from documentation

    in the enrollee's medical record. The Handbook also makes clear the warning that knowingly

    making a claim for inappropriate or unnecessary services is forbidden. Finally, with each claim,

    Shiel and Fresenius are required to certify that the laboratory services were furnished in

    accordance with applicable federal and state laws and regulations, and that no material fact has

    been omitted from the claim form.

           47.     Pursuant to New York's Electronic Claims Submission Agreement, all providers

    must abide by all Federal and State statutes, rules, regulations, and manuals governing the New

    York Medicaid program. The agreement also requires providers to certify that each claim is in

    compliance with all federal and state laws and the conditions on the claim form, including that

    "the services . . . were medically indicated and necessary to the health of this patient" and that

    the provider understands "that payment and satisfaction of this claim will be from Federal and

    State funds, and that any false claims, statements, or documents, or concealment of a material

    fact, may be prosecuted under applicable Federal or State laws."

           48.     In addition, New York Codes, Rules and Regulations Title 18, Section 505.7 g(1)

    specifically requires that NY Medicaid (the NYS Medical Assistance program) "payment for




                                                   14
Case 1:16-cv-01090-NGG-TAM Document 63-2 Filed 05/03/23 Page 16 of 53 PageID #: 519



    laboratory services will be in an amount equal to the lower of: the amount specified in the MA

    fee schedule for laboratory services or the fee charged for laboratory services provided to the

    general public by the laboratory."18 CRR-NY 505.7 g (1). Therefore, any discounts that result

    in payment lower than the MA fee schedule are not permitted.

            49.    Shiel offered nursing homes substantial discounts on their Medicare Part A lab

    tests, in exchange for an exclusive contract to Shiel for all Part B work.

            50.    The discounts offered were intended to induce and actually did induce the

    nursing homes to give Shiel exclusive contracts for all laboratory services to the homes' Part B

    patients.

            51.    The resultant discounts led to Medicare payments which were below the NYS

    MA fee schedule amount. New York Medicaid, instead of paying the fee schedule rate for these

    tests, should have been paid the lesser amount (the discounted Medicare rate.)

                   3.      The New Jersey Medicaid Program

           52.     The New Jersey State Medicaid Program is authorized by Title XIX of the

    Social Security Act. 42 U.S.C. §§ 1396 et seq. Medicaid is a joint federal-state program that

    provides healthcare benefits, including laboratory services coverage, for certain groups

    including the poor and disabled. The New Jersey Medicaid program is required to implement a

    "State Plan" containing certain specified minimum criteria for coverage and payment of claims

    in order to qualify for federal funds for Medicaid expenditures. 42 U.S.C. § 1396a. The federal

    portion of each state's Medicaid payments, known as the Federal Medical Assistance

    Percentage, is based on a state's per capita income compared to the national average. 42 U.S.C.

    § 1396d (b).




                                                    15
Case 1:16-cv-01090-NGG-TAM Document 63-2 Filed 05/03/23 Page 17 of 53 PageID #: 520



            53.     Physicians and laboratories certify in their state Medicaid provider enrollment

    forms that they will comply with all federal and state laws applicable to Medicaid. New Jersey's

    "Medicaid Provider Enrollment Application" must be completed by any person or entity

    desiring to receive payment for services provided to Medicaid recipients.

                   4.      Regulations Regarding Coverage for Laboratory Tests

           54.     Medicare and New York and New Jersey Medicaid regulations both make

    clear that laboratory tests must be ordered by the physician treating the patient for the

    treatment of a specific illness or injury, that laboratory test orders that are not individualized

    too patient need (or for which the need is not documented in the patient chart) are not covered

    services, and that claims for such services must be denied.

                           a.      Medicare Coverage for Laboratory Tests

           55.     Laboratory services must meet all applicable requirements of the Clinical

    Laboratory Improvement Amendments of 1988 ("CLIA"), as set forth at 42 C.F.R. Part

    493.

           56.     Medicare Part B pays for covered diagnostic laboratory tests that are furnished

    by a laboratory. 42 C.F.R. § 410.32(d)(v). "Clinical laboratory services involve the . . .

    examination of materials derived from the human body for the diagnosis, prevention, or

    treatment of a disease or assessment of a medical condition." Medicare Benefit Policy Manual

    ("MBPM"), (Pub. 100-02), Ch. 15, § 80.1, available at http://www.cms.gov/Regulations-and-

    Guidance/Guidance/Manuals/Downloadsibp102c15.pdf (visited March 15, 2014).

           57.     Medicare Part B only covers services, including diagnostic laboratory

    services, which are reasonable and necessary for the diagnosis or treatment of an illness. See

    42 U.S.C. § 1395y(a)(1)(A) ("[N]o payment may be made under [Medicare] part A or part



                                                    16
Case 1:16-cv-01090-NGG-TAM Document 63-2 Filed 05/03/23 Page 18 of 53 PageID #: 521



    B . . . for any expenses incurred for items or services . . . which . . . are not reasonable and

    necessary for the diagnosis or treatment of illness or injury or to improve the functioning of

    a malformed body member[.]")

           58.     Pursuant to 42 C.F.R. § 410.32(a), all diagnostic tests "must be ordered by the

    physician who is treating the beneficiary, that is, the physician who furnishes a consultation or

    treats a beneficiary for a specific medical problem and who uses the results in the management

    of the beneficiary's specific medical problem. Tests not ordered by the physician who is treating

    the beneficiary are not reasonable and necessary." The MPBM's "Requirements for Ordering

    and Following Orders for Diagnostic Tests" define an "order" as "a communication from the

    treating physician/practitioner requesting that a diagnostic test be performed for a beneficiary

    [T]he physician must clearly document, in the medical record his or her intent that the test be

    performed." MPBM, Ch. 15, Section 80.6.1.

           59.     Tests not ordered by the physician who is treating the beneficiary are not

    reasonable and necessary. 42 C.F.R. § 410.32(a). Clinical laboratory services must be

    ordered and used promptly by the physician who is treating the beneficiary as described in

    42 C.F.R. § 410.32(a). MPBM, Ch. 15, § 80.1.

           60.     To assess whether those services are reasonable and necessary and whether

    reimbursement is appropriate, Medicare requires proper and complete documentation of the

    services rendered to beneficiaries and prohibits payment "to any provider of services or other

    person under this part unless there has been furnished such information as may be necessary in

    order to determine the amounts due such provider or other person under this part for the period

    with respect to which the amounts are being paid or for any prior period. 42 U.S.C. § 13951(e);




                                                    17
Case 1:16-cv-01090-NGG-TAM Document 63-2 Filed 05/03/23 Page 19 of 53 PageID #: 522



   see also 42 U.S.C. § 1395u(c)(2)(B)(i) ("The term `clean claim' means a claim that has no defect

   or impropriety (including any lack of any required substantiating documentation)").

              61.       Medicare regulations expressly state that a laboratory's claim for a service will

    be denied if there is not sufficient documentation in the patient's medical record to establish

    that the service was reasonable and necessary. 42 C.F.R. § 410.32(d)(3)

              62.       CMS regulations further empower laboratories to request documentation

    from physicians regarding medical necessity:

                        (iii) Medical necessity. The entity submitting the claim may
                        request additional diagnostic and other medical information from
                        the ordering physician or nonphysician practitioner to document
                        that the services it bills are reasonable and necessary. 42 C.F.R. §
                        410.32(d)(3).

              63.       The Department of Health and Human Services, Office of Inspector General

    ("HHS-OIG") has published Compliance Program Guidance for Clinical Laboratories in the

    Federal         Register.   63     Fed    Reg.    45076      (Aug.    24,    1998),    available   at

    https://oig.hhs.gov/authorities/docs/cpglab.pdf. (Visited January 17, 2016.) Among other things,

    the HHS-OIG guidance clarifies that laboratory order forms should emphasize the need for a

    justification and assessment of each test ordered and that Medicare does not pay for tests for

    screening purposes:

           64.         Therefore, Medicare may deny payment for a test that the physician believes

    is appropriate, but which does not meet Medicare coverage criteria (e.g., done for screening

    purposes) or where documentation in the entire patient record, does not support that the tests

    were reasonable and necessary for a given patient.




                                                        18
Case 1:16-cv-01090-NGG-TAM Document 63-2 Filed 05/03/23 Page 20 of 53 PageID #: 523




                   a. Requisition design: While HCFA [(CMS)] does not design or
                   approve requisition forms, laboratories should construct the
                   requisition form to capture the correct program information as
                   required by Federal or private health care programs and to promote
                   the conscious ordering of tests by physicians or other authorized
                   individuals. The laboratory should construct the requisition form
                   to ensure that the physician or other authorized individual has
                   made an independent medical necessity decision with regard to
                   each test the laboratory will bill. . . The form should contain a
                   statement indicating that Medicare generally does not cover
                   routine screening tests.


                          b.      New York Medicaid Coverage for Laboratory Tests

           65.    New York Medicaid also requires that testing be individualized to the medical

    needs of patients and must be medically necessary.

                          c.      Self-Referral and Anti-Kickback Prohibitions

                                  (1).      The Stark Law

           66.    The federal physician self-referral prohibition, 42 U.S.C. § 1395nn (commonly

    known as the "Stark Law") prohibits an entity from submitting claims to Medicare for twelve

    categories of "designated health services" ("DHS"), including clinical laboratory services, if

    such services were referred to the entity by a physician with whom the entity had a financial

    relationship that did not fall within a statutory or regulatory exception. 42 U.S.C. §§ 1395nn;

    see also 42 C.F.R. §§ 411.351 et seq.

           67.    Compliance with the Stark Law is a condition of payment by the Medicare

    program. Medicare may not pay for any DHS provided in violation of the Stark Law. See

    42 U.S.C. §§ 1395nn(a)(1), (g)(1).

           68.    The regulations interpreting the Stark Law require that "[a]n entity that collects




                                                   19
Case 1:16-cv-01090-NGG-TAM Document 63-2 Filed 05/03/23 Page 21 of 53 PageID #: 524



    payment for a designated health service that was performed pursuant to a prohibited referral

    must refund all collected amounts on a timely basis" 42 C.F.R. § 411.353(d).

           69.      A "financial relationship" includes a "compensation arrangement," which

    means any arrangement involving any "remuneration" paid to a referring physician "directly or

    indirectly, overtly or covertly, in cash or in kind" by the entity furnishing the DHS. See 42 U.S.C.

    §§ 1395nn(h)(1)(A) and (h)(1)(B).

           70.     Effective October 1, 2008, "a physician is deemed to `stand in the shoes' of his

    or her physician organization and have a direct compensation arrangement with an entity

    furnishing DHS if -- (A) The only intervening entity between the physician and the entity

    furnishing [DHS] is his or her physician organization; and (B) The physician has an ownership

    or investment interest in the physician organization." 42 C.F.R. § 411.354(c)(1)(ii).

           71.     Under the Stark Law, an "entity is considered to be furnishing DHS if it . . .

    [is the] entity that has presented a claim to Medicare for the [DHS]." 42 C.F.R. § 411.351.

           72.      A "referral" includes "the request by a physician for, or ordering of, or the

    certifying or recertifying of the need for, any [DHS] for which payment may be made under

    Medicare Part B." 42 C.F.R. § 411.351.

           73.     The Stark Law and its interpretive regulations contain exceptions for certain

    compensation arrangements. The statute and regulations also exempt certain items from the

    definition of "remuneration," including items "used solely to (I) collect, transport, process, or

    store specimens for the entity providing the item, device, or supply, or (II) order or communicate

    the result of tests or procedures for such entity." 42 U.S.C. § 1395nn(h)(1)(C)(ii); 42 C.F.R.

    § 411.351.




                                                    20
Case 1:16-cv-01090-NGG-TAM Document 63-2 Filed 05/03/23 Page 22 of 53 PageID #: 525



   (2).   The Anti-Kickback Statute

            74.     The Anti-Kickback Statute, 42 U.S.C. § 1320a-7b(b), arose out of

     Congressional concern that payoffs to those who can influence health care decisions would

     result in goods and services being provided that are medically unnecessary, of poor quality, or

     potentially harmful to patients. To protect the integrity of federal health care programs from

     these difficult-to-detect harms, Congress enacted a per se prohibition against the payment of

     kickbacks in any form, regardless of whether the particular kickback gave rise to overutilization

     or poor quality of care. The statute was first enacted in 1972, and was strengthened in 1977 and

     1987, to ensure that kickbacks masquerading as legitimate transactions did not evade its reach.

     See Social Security Amendments of 1972, Pub. L. No. 92-603, §§ 242(b) and ©; 42 U.S.C. §

     1320a-7b, Medicare- Medicaid Antifraud and Abuse Amendments, Pub. L. No. 95-142;

     Medicare and Medicaid Patient and Program Protection Act of 1987, Pub. L. No. 100-93.

            75.     The Anti-Kickback Statute prohibits any person or entity from making or

     accepting payment, in cash or in kind, to induce or reward any person for referring,

     recommending or arranging for federally funded medical services, including services

     provided under the Medicare and Medicaid programs. In pertinent part, the statute provides:

                    (b) Illegal remunerations . . .

                    (2) whoever knowingly and willfully offers or pays any
                    remuneration (including any kickback, bribe, or rebate) directly
                    or indirectly, overtly or covertly, in cash or in kind to any person
                    to induce such person—

                    (A) to refer an individual to a person for the furnishing or arranging
                    for the furnishing of any item or service for which payment may be
                    made in whole or in part under a Federal health care program, or




                                                      21
Case 1:16-cv-01090-NGG-TAM Document 63-2 Filed 05/03/23 Page 23 of 53 PageID #: 526



                   (B) to purchase, lease, order or arrange for or recommendpurchasing,
                  leasing or ordering any good, facility, service, or item for which
                  payment may be made in whole or in part under a Federal healthcare
                  program, shall be guilty of a felony and upon conviction thereof,shall
                  be fined not more than $25,000 or imprisoned for not more thanfive
                  years, or both.

    42 U.S.C. § 1320a-7b.

           76.     Compliance with the Anti-Kickback Statute is a condition of payment by

    the Medicare program. 42 U.S.C. § 1320a-7(b)(7).

                          IV.     DEFENDANTS' FRAUDULENT SCHEMES

           77.     Defendants knowingly submitted and caused to be submitted false claims to

    Medicare and New York and New Jersey Medicaid for non-covered laboratory testing and

    testing that was not reasonable and necessary. 42 U.S.C. § 1395y(a)(1)(A); 42 C.F.R. §

    410.32(a); MBPM, Ch. 15, Section 80.6.1.

           78.     Defendants illegally paid skilled nursing facilities and physicians

    remuneration in the form of gifts, expensive entertainment, payment of expenses for

    advertising, payment of expenses for EMR licensing, phlebotomists, and office support staff

           79.     Defendants also paid kickbacks to skilled nursing facilities by giving them

    substantial discounts of Medicare Part A lab work in exchange for exclusive agreements to

    send Shiel all of the SNFs' Part B business.

           80.     Since March 23, 2010, defendants have knowingly failed and refused to report

    and return overpayments in violation of 42 USC §1320a-7k(d). This requirement was established

    in 2010 and specifically make the failure to report and return overpayments enforceable under

    the False Claims Act [31 USC §3729(b)(3) and applies the same broad definitions of "knowing"




                                                   22
Case 1:16-cv-01090-NGG-TAM Document 63-2 Filed 05/03/23 Page 24 of 53 PageID #: 527



    and "knowingly" as the FCA. [§1128J, as added March 23, 2010 by P.L. 111-148, Title VI,Subtitle

    E, §6402(a), 124 Stat. 753.)

           A.      Shiel and Fresenius Knowingly Submitted Claims to Medicare and Medicaid

                   for Tests That Were Not Reasonable and Necessary by Falsely Submitting

                   Diagnostic Codes

           81.     Defendants knew that, as a laboratory and Medicare supplier, Shiel, and then

    Fresenius it had an obligation to submit claims to Medicare only for tests that were reasonable

    and necessary for the diagnosis or treatment of individual patients. Documentation of medical

    necessity is required before Medicare and Medicaid will pay for laboratory claims. With only

    a few exceptions, the programs will not pay for routine checkups or screening tests, defined

    as "diagnostic procedures performed in the absence of signs or symptoms."

            82.    Shiel paid its account representatives modest salaries and supplemented

    those salaries with commissions the representatives could earn based upon the laboratory's

    revenue earned on their accounts.

           83.     Physicians and skilled nursing facilities only infrequently inserted ICD-9 (now

    ICD-10) codes on their patients' laboratory requisition forms and typically ignored the account

    representatives' requests that they provide this information. Because of this, Shiel would not

    get paid, and the account representatives would not earn commissions unless Shiel itself inserted

    the codes.

           84.     Shiel taught its account representatives to insert codes themselves, with no

    knowledge of whether the codes were proper. As commissioned salespeople, their only

    concern was whether the codes would get Medicare to pay for the tests. Jack Basch and other




                                                   23
Case 1:16-cv-01090-NGG-TAM Document 63-2 Filed 05/03/23 Page 25 of 53 PageID #: 528



    Shiel executives directed their account representatives by telling them, "You've got to put

    down an ICD-9," and, "You've just got to do it."

            85.     Shiel office workers routinely received printed "missing diagnosis" sheets for

    laboratory test requisitions which were unpaid because ICD-9 codes were missing, or because

    the codes which had been selected did not result in payment. These requisitions would either be

    put in the account representatives' inboxes, left at billing office desks, or in some cases,

    delivered to the account representatives.

            86.    Shiel representatives who had nursing home accounts also routinely inserted

    codes to justify reimbursement even when newly admitted patients were receiving "baseline"

    tests which Medicare does not pay for. The patients also had regularly scheduled routine tests

    which, in the absence of signs, symptoms, or diagnoses, are also not reimbursable.

            87.     In the fall of 2014, Shiel and Fresenius helped introduce software which its

    nursing home accounts would use to order laboratory tests. The software required the nursing

    homes to enter a diagnostic code for the order to be processed.

           88.     However, this did little or nothing to meet Medicare's requirement that orders

    include ICD-9 codes reflecting the medical condition which made the test necessary, and

    defendants' own chief compliance officer acknowledges that at least half of the tests are ordered

    or billed with improper diagnostic coding.

           89.     There are two main reasons for this. First, the software-facilitated coding prompt

    does not require that the nursing home enter the correct code that demonstrates the medical

    necessity of the test. It does not even require that the nursing home enter a code which, although

    inaccurate, would nonetheless trick Medicare into paying for the test. Entering any diagnostic

    code will cause the test requisition to process.




                                                       24
Case 1:16-cv-01090-NGG-TAM Document 63-2 Filed 05/03/23 Page 26 of 53 PageID #: 529



            90.    Second, defendants prepared "cheat sheets" listing diagnostic codes which

    would trigger Medicare payment even if they had nothing to do with the patients' condition.

    Defendants trained nursing home employees to use the "cheat sheets" to enter diagnostic codes

    which would trick Medicare into paying for the laboratory tests whether or not there was any

    genuine evidence that the tests were medically necessary.

            91.    The falsification of ICD-9 and ICD-10 codes was known by Fresenius

    Laboratories' Chief Operating Officer and the vice-president of Billing and

    Contracting.

            B.     Shiel and Fresenius Knowingly Submitted Claims to Medicare and Medicaid

                   for Tests That Were Not Reasonable and Necessary by Adding Orders for

                   Expensive and Unnecessary Tests

           92.     In 2014, after Fresenius acquired Shiel, a sales contest was held which offered

    the most successful sales representative a thirty percent commission on accounts generating over

    $50,000 in monthly billings. The contest winner, Sal Prifitera, boasted that he had done this

    by automatically adding orders for expensive services such as Vitamin D assays (CPT Code

    82306 and Oxidized LDL tests. (CPT Code 83516.)

           93.     This was hardly the first time Prifitera had done this. In a December 9, 2004

    email, Prifitera was singled out for praise by then vice president of sales Todd Schild for getting

    a medical practice to include routine Oxidized LDL tests on the chemistry panels it ordered.

    Schild pointed out that by doing this Prifitera had doubled Shiel's sales to this medical group,

    to $40,000 per month.




                                                    25
Case 1:16-cv-01090-NGG-TAM Document 63-2 Filed 05/03/23 Page 27 of 53 PageID #: 530



            94.    The expensive oxidized LDL tests are governed by Medicare' sgeneral requirement

    that routine screening tests are not reimbursable.

            95.    In New York, reimbursements for Vitamin D assays are governed by Local

    Coverage Determination L29510 promulgated by NGS, which became effective September 1,

    2009. Pursuant to this LCD, routine screening tests for Vitamin D insufficiency are not

    reimbursable, and the assay is only indicated for patients who have been diagnosed with a few

    very specific diseases.3 Testing without one of these specific diagnoses may not properly be billed

    to Medicare.

           C.      Defendants Gave Financial Inducements to Physicians in Exchange for

                   Referrals in Violation of the Stark Law and Anti-Kickback Statute.

           96.     Defendants have used a variety of means to provide financial inducements

    to doctors and nursing homes to encourage and reward referring their patients to Shiel.

                   (A)    Physicians are now required to switch their practices to electronic medical

    records (EMRs). Shiel pays the monthly licensing fee of approximately $200 per month for

    cloud-based EMR services. Relator is informed and believes and based thereon alleges that these

    monthly payments are made on behalf of approximately one hundred or more physicians who

    are customers of Shiel account representative Sal Prifitera.

                   (B)     Relator is informed and believes and based thereon alleges that Shiel

    allowed itself to be overcharged by another EMR company, ELLKAY LLC, by a factor of

    approximately 400%, using some or all of the nearly one million dollars in funds generated by




           3 Vitamin D assays are indicated for patients with any of the following conditions: chronic
   kidney disease State III or greater; osteoporosis osteomalacia; osteopenia; hypocalcemia;
   hypercalcemia; hypoparathyroidismk; hyperparathyroidism; or rickets. The assay test is also
   indicated to monitor the effectiveness of Vitamin D replacement therapy in patients with
                                                   26
Case 1:16-cv-01090-NGG-TAM Document 63-2 Filed 05/03/23 Page 28 of 53 PageID #: 531



   documented Vitamin D. deficiency.




                                        27
Case 1:16-cv-01090-NGG-TAM Document 63-2 Filed 05/03/23 Page 29 of 53 PageID #: 532



    the overcharge to induce physician referrals. Shiel recently authorized one account

    representative to spend thousands of dollars for a party hosted by a physician, Amir Rabaddi,

    who gave business to Shiel.

                   (C)     Shiel also provides financial inducements to physicians by placing

    phlebotomists and other personnel in doctors' offices without charge, or by paying doctors' own

    employees to draw blood samples. For example, a Shiel employee who is an assistant to sales

    representative Brian Gluck actually reports to work at a Boro Park, New York OB GYN practice

    where she performs office functions which directly support the doctors.

           D.      Shiel Has Given Illegal Financial Inducements to Nursing Homes in

                   Exchange for Referrals

           97.     When and administrator at a nursing home which gave its clinical laboratory

    work to Shiel opened an insurance agency as a side business, the administrator asked for and

    received Spiel's Workers' Compensation insurance account.

           98.     Shiel also spends thousands of dollars every year on gifts of expensive

    consumer electronics for its favored skilled nursing facility accounts.

           99.     Shiel negotiated contracts with nursing homes that offered them large discounts

    on the SNFs' Medicare Part A labs in exchange for exclusive agreements that gave Shiel all

    of the SNFs' Part B business.

           100.    The following nursing homes received discounts on their Part A lab services in

    exchange for granting Shiel an exclusive agreement for all the SNF's Part B business:

    Brooklyn United Methodist Church Home (BUMCH), Bushwick Center for Rehabilitation and

    Health Care, Concord Nursing Center, Inc. (CNC), Croton Bethel NH, Ditmas Park

    Rehabilitation, Inc., Dry Harbor Nursing Home, Inc., Fieldston Lodge Nursing Home, Inc.,



                                                   28
Case 1:16-cv-01090-NGG-TAM Document 63-2 Filed 05/03/23 Page 30 of 53 PageID #: 533



    Friedwald Center, Inc., Friedwald Center for Rehabilitation and Nursing, Grandell

    Rehabilitation and Nursing Center, Inc., Haym Solomon Nursing Home, Inc., Holliswood

    Care Center, Marcus Garvey Nursing Home, Inc., New East Side Nursing Home, LLC, New

    Rochelle Nursing Home, Northern Manor Nursing Home, Inc., Northern Riverview Nursing

    Home, Inc., Oak Hollow Nursing Center (OHNC), Ossining Bethel NH, Queens Nassau

    Nursing Home, Inc., Ramapo Manor Center for Rehabilitation and Nursing, Ruby Weston

    Manor, Inc., The Silvercrest Center for Nursing & Rehabilitation, Sutton Park Center for

    Nursing & Rehabilitation, LLC, Verrazano Nursing Home, Inc.„ Woodbury Center for

    Healthcare (WCHC), and Woodcrest Nursing Home, Inc. Relator's principal knows this as he

    negotiated and received signed contracts from these SNFs that specified discounts on Part A

    labs in exchange for an exclusive arrangement for their Part B business.

           101.    Upon information and belief, the nursing homes listed below also received

    discounts on their Part A lab services in exchange for granting Shiel an exclusive agreement

    for all of the SNF's Part B business. Alliance Health Associates, Inc (d/b/a Linden Gardens

    Rehabilitation and Nursing Center), Apex Rehabilitation, Atrium at Park Ridge d/b/a Plaza

    Regency Care Center (Park Ridge), Belair Care Center, Inc., Berkshire Nursing and

    Rehabilitation Center, Beth Abraham Health Services, Bishop Charles Waldo MacLean, Inc.

    (BCWM), Bishop Henry B. Hucles Nursing Home, Cabrini Center for Nursing &

    Rehabilitation, Cabrini of Westchester for its St. Cabrini Nursing Home, Center for Nursing

    & Rehabilitation, Cobble Hill Health Center, Inc., Cobble Hill Health Center, Long Term

    Health Care Program (LTHHCP), Crest Hall Nursing, East Rockaway Care Center, Fieldston

    Lodge, Flushing Manor Care Center, Inc., Hudson Point at Riverdale, Inc., Huntington Hills

    Nursing Home, Komanoff Center for Geriatric & Rehab Medicine, KZ Corp d/b/a Atrium at




                                                  29
Case 1:16-cv-01090-NGG-TAM Document 63-2 Filed 05/03/23 Page 31 of 53 PageID #: 534



    Wayne Care Center (Atrium), Lawrence Nursing Care Center, Inc., New Sea Crest Health

    Care Center, Northern Riverview Nursing Home, Inc., PALJR, LLC d/b/a East Neck Nursing

    & Rehabilitation Center, Palm Gardens Center (PGC), Pelham Parkway Nursing Care &

    Rehabilitation Facility, Port Jefferson Healthcare Facility, Rockville, Sans Souchi

    Rehabilitation and Nursing Center (SSRNC), Shoreview, South Shore Rehabilitation and

    Nursing Center (SSRN), St. Patrick's Home for the Aged and Infirm, The Riverside, and

    Wayneview Corp d/b/a Wayneview Care Center. Relator's principal knows this as he

    negotiated contracts with these SNFs that specified discounts on Part A labs in exchange for

    an exclusive arrangement for Shiel to handle their Part B business.

          102.     Offering these discounts to the nursing homes was very profitable for Shiel, as

   for most nursing homes only 15-20% of the lab tests for Medicare patients were billable under

   Part A, with the remaining 80-85% of their lab tests falling under Part B of Medicare.

          103.     Relator's principal had personal knowledge of these illegal inducements at the

   time the original and the first amended complaint were filed because Relator's principal was

   responsible for getting the nursing home contracts signed, including the Part A discounts in

   exchange for exclusivity, including Part B. This dated back to the mid-1990's. When Relator's

   principal beganthis work at Shiel he had been told that discounts were in exchange for exclusivity

   were a standard business practice. As he gainedmore experience in the industry, he heard that

   other laboratories similarly offered pricingarrangements, confirming his mistaken belief that

   this was a standard industry practice and that nothing was wrong with it. When Relator's

   principal filed the original and first amended complaint, he had not focused on the illegality of

   these contract provisions, because it had been brought up by only one nursing home in nineteen

   years and the fact that they were another form of kickback. Therefore, these allegations were

   not originally included in the complaint.

                                                    30
Case 1:16-cv-01090-NGG-TAM Document 63-2 Filed 05/03/23 Page 32 of 53 PageID #: 535



           104.     When Relator's principal began at Shiel, he was responsible for about 20

   nursing home contracts; this number grew to about 100 over the time Relator's principal was

   employed there. All nursing homes were offered discounts on Part A work in exchange for Shiel

   being the exclusive lab services provider for that SNF's Part B patients. In the contractsShiel

   was listed as the "primary provider of laboratory services". This was understood by bothShiel

   and the nursing home to mean that Shiel was to be to be the only provider of lab servicesfor the

   nursing home. All nursing homes wanted at least a 30% discount; most of them receivedthis and

   Shiel's contracts with the nursing homes included this discount. After execution of a contract,

   all lab services for the contracted nursing home were provided exclusively by Shiel.

           105.     Jack Basch and Moshe Kraus required Relator's principal to bring all contracts

   to them to approve the final discounts. For some nursing homes, Basch would tell Relator's

   principal what discounts to offer; for others Basch would modify and approve the contract after

   Relator's principal relayed to him what discount the nursing home wanted. Further discounts

   were often given at Jack Basch's or Moshe Krause's discretion when the nursing homes were

   billed for lab services for their Part A patients.

           106.     Many of the nursing homes received additional discounts above and beyond the

   contracted discount. One nursing home, Brooklyn United, got an additional discount over and

   above the 30%. Another, Friedwald Center, got a 40% discount on its part A work in exchange

   for exclusivity for Shiel for part B labs. This was accomplished by combining the 30% discount

   in the contract with an additional 10% taken off when Shiel billed for part A work. Similarly,

   further discounts above the 30% base discount that was detailed in the contracts were offered

   to about 40% of Shiel's nursing home clients. These clients were knownas "Jack's (Basch)

   clan". Nursing homes that fell into this category included, inter alia,




                                                        31
Case 1:16-cv-01090-NGG-TAM Document 63-2 Filed 05/03/23 Page 33 of 53 PageID #: 536



   Bridgeview, Midway, Fulton Commons, Mayfair, Silverlake, Cliffside, National Healthcare

   nursing homes, Huntington Hills, Atrium and Ross Healthcare nursing homes (all located in the

   State of New York). These further discounts were given twice a year when the nursing home

   would receive its part A bill from Shiel.

              107.   Upon information and belief, about 25% of nursing homes never paid their Part

    A bills at all. When Shiel billed them for lab services for their Part A patients, despite the fact

    that they were already receiving a significant discount on their Part A bill, these nursing homes

    simply would not pay at all. Shiel did not undertake serious collection activities. For these

    nursing homes the effective billing rate was $0.00 for each lab test.

              108.   For example, Silverlake nursing home and Verrazano nursing home, both

    owned by Otto Weingarten, never paid their Part A bills. When Shiel billed these homes for

    Part A labs, they did not pay their bill at all, and laughed when Shiel called to request payment.

    Shiel did not push back or insist upon payment from Silverlake or Verrazano, as Weingarten's

    nursing homes were a significant source of Part B business for Shiel.

              109.   These Part A discounts were substantial inducements to the nursing homes. On

    average, nursing homes were billed about $50,000 to $60,000 per year for labs for Part A

    patients. Therefore, the discounts Shiel offered could generate at least $18,000 per year in

    savings to the nursing homes. For the homes receiving 100% discounts the savings were far

    higher.

              110.   These discounts also gave the nursing homes that were receiving these

    kickbacks the opportunity to pay prices for lab test that were lower than those permitted by the

    New York Medicaid. Therefore, the kickbacks were not only illegal inducements, but also




                                                     32
Case 1:16-cv-01090-NGG-TAM Document 63-2 Filed 05/03/23 Page 34 of 53 PageID #: 537



    contravened NY Medicaid fee schedules, which had "best price" requirements that Medicaid

    pay no more than the lowest amount paid by any other payor.

           111.    For example, commonly performed and therefore high-volume tests such as the

    comprehensive metabolic panel (CMP), basic metabolic panel (BMP), and Prothrombin time

    (Protime) fell below the Medicaid price when offered at discounts between 15% and 35%

    (depending on year). See attached Exhibits Al-Al2.

           112.    In addition, less frequently performed, but more expensive tests such as those

    for Vitamin D and Ferritin fell below the Medicaid price when offered at discounts up to 30%.

    See attached Exhibits A1-Al2.

           113.    Because almost all nursing homes received at least a 30% discount on their Part

    A labs, this resulted in "best price" violations for almost every SNF for whom Shiel offered

    this inducement.

           114.    For nursing homes such as Silverlake and Verrazano, which never paid any Part

    A bills, there was 100% discount on all lab tests, making any test performed for these homes

    a violation of NY State lab payment regulations.

           115.    In addition to the discounts on Part A work, Shiel also offered other

    inducements to nursing homes to secure exclusive arrangements to do all Part B labs. For

    example, Shiel did not charge the nursing homes for any labs done for patients covered by an

    HMO. For example, one Blue Cross HMO paid the nursing home an all-inclusive per diem

    rate which included all laboratory services. By not charging the nursing homes for these labs,

    Shiel allowed the nursing homes to keep more of the per diem rate paid by the HMO for their

    own profit.




                                                  33
Case 1:16-cv-01090-NGG-TAM Document 63-2 Filed 05/03/23 Page 35 of 53 PageID #: 538



            116.    Furthermore, all nursing homes owned by the ownership of Klein and Rubin

    including inter-alia Hopkins Care Center, Oceanside Care Center, Park Terrace, Grandel Care

    Center, Beach Terrace and Queens Nassau were not charged Part A travel fees for

    venipuncture (i.e., the travel costs a phlebotomist would incur when traveling to a nursing

    home to take a patient's blood. This travel fee is a cost that would have come out of the per

    diem rate paid to the nursing home by Part A. By not charging a nursing home for the travel

    fee, Shiel allowed the nursing home to keep more of the per diem rate paid by Medicare Part

    A for its own profit.

            117.    Silverlake nursing home in NY, received further inducements. A blood gas

    machine was placed in a broom closet and was deemed a "lab" by Shiel. Shiel paid a monthly

    fee to Silverlake for this onsite "lab" and stated that Shiel's medical director, Dr. Romano was

    also medical director of this "lab". Shiel also paid a monthly fee to Silverlake for a respiratory

    therapist, Elliot Spira, even though Spira was a Silverlake employee. In addition, Shiel paid a

    monthly fee to Silverlake's medical director. These bogus arrangements provided additional

    incentive for Silverlake to give Shiel exclusivity for its Part B work. Shiel was particularly

    motivated to offer incentives to Silverlake, as over 70% of its lab work was covered under Part

    B.

           118.    Cliffside nursing home in NY had a similar arrangement with Shiel, where

    Shiel provided payments to the nursing home for a bogus lab. Shiel was particularly motivated

    to offer this incentive to Cliffside, as Cliffside also had a large proportion of Part B business.

           E.      Defendants Knew That These Financial Inducements Were Illegal

          119.     Defendants knew that compliance with the Stark Law and Anti-Kickback Statute

    was a condition of payment by Medicare. Defendants explicitly certified that, as a Medicare



                                                     34
Case 1:16-cv-01090-NGG-TAM Document 63-2 Filed 05/03/23 Page 36 of 53 PageID #: 539



    supplier, they would comply with all Medicare laws and regulations, including the Stark Law

    and Anti-Kickback Statute, on Form CMS-855B and CMS-1500 claims forms.

            120.   Defendants knowingly compensated physicians and skilled nursing facilities in

    exchange for referrals, in violation of the Stark Law and Anti-Kickback Statute. Defendants paid

    kickbacks and dispensed gifts expressly to obtain referrals, to increase the number of tests

    referred, and to prevent customers from affiliating with competitors.

           121.    At least one Shiel account representative would purchase gifts for customers

    and was told to manufacture receipts that "make sense". With company approval, he would

    turn in fake invoices for repair work or would turn in receipts for expensive personal items that

    appear to be business-related and would cover the costs of the gifts he had been directed to

    purchase, thus concealing the inducement in the event of an audit or investigation.

      V.      THE UNITED STATES AND THE STATES OF NEW YORK AND NEW JERSEY

           WERE HARMED BY DEFENDANTS' CONDUCT

           122.    As a result of Defendants' conduct, the Medicare program paid Defendants tens

    of millions of dollars for false and/or fraudulent claims for laboratory tests.

           123.     Medicare was directly affected by Defendants' fraudulent schemes. Estimates

    of Medicare / Medicaid, or Proxy Estimates of SNF residents.

           124.     Medicare was particularly susceptible to Defendants' fraudulent schemes

    because it does not require a patient co-payment on laboratory services. Because Medicare

    patients were not required to pay out-of-pocket for laboratory services, they had no reason to

    inquire into the charges to Medicare associated with them.




                                                    35
Case 1:16-cv-01090-NGG-TAM Document 63-2 Filed 05/03/23 Page 37 of 53 PageID #: 540



           125.    The damages to the United States and the States of New York and New Jersey

    arising from the Defendants' submission of claims to Medicare and Medicaid referred by

    these physicians in violation of Stark Law is also in the millions of dollars.

           126.    The damages to the United States and the States of New York and New Jersey

    arising from the Defendants' submission of claims to Medicare and Medicaid for laboratory tests

    that were not reasonable and necessary for the diagnosis or treatment of patients, and for which

    the need was not assessed or documented for individual patients, including the claims referenced

    in Section IV, E above, likely exceeds tens of millions of dollars.

                                                COUNT I

                      (Federal False Claims Act: Presentation of False Claims)

                                 (31 U.S.C. § 3729(a)(1) and (a)(1)(A))

           127.    Relator repeats and reloads and hereby incorporates by reference paragraphs

    1 through 97 inclusive set out above as though fully set forth herein.

           128.    Defendants knowingly presented, or caused to be presented, false and fraudulent

    claims for payment or approval to the United States and New York and New Jersey Medicaid,

    including those claims for reimbursement of laboratory drug tests that violated the Stark Law

    and the Anti-Kickback Statute and that were ordered by physicians for uses that were not

    reasonable and necessary for the diagnosis or treatment of individual patients.

           129.    Said claims were presented with actual knowledge of their falsity, or with

    reckless disregard or deliberate ignorance of whether or not they were false.




                                                    36
Case 1:16-cv-01090-NGG-TAM Document 63-2 Filed 05/03/23 Page 38 of 53 PageID #: 541



                                               COUNT II

                   (Federal False Claims Act: False Statements Material to False

                                  Claims) (31 U.S.C. § 3729(a)(1)(B))

           130.    Relator repeats and reloads and hereby incorporates by reference paragraphs

    1 through 97 inclusive set out above as though fully set forth herein.

           131.    Defendants knowingly made, used, and caused to be made or used, false records

    or statements — i.e., false statements regarding compliance and coverage for its services and

    false statements on forms CMS-855B, 837P and CMS-1500—to get false or fraudulent claims

    paid and approved by the United States.

           132.    Defendant's false certifications and representations were made to get claims

    paid even though there was no evidence of medical reasonableness or medical necessity, and

    payment of the false or fraudulent claims was a reasonable and foreseeable consequence of the

    Defendant's statements and actions.

           133.    The false certifications and representations made and caused to be made

    by Defendant were material to the United States' and New York and New Jersey

    Medicaid's payment of the false claims.

           134.    Said false records or statements were made with actual knowledge of their

    falsity, or with reckless disregard or deliberate ignorance of whether or not they were false.

                                               COUNT III

                  FAILURE TO RETURN OVERPAYMENTS FALSE CLAIM

                          (Federal False Claims Act; 31 U.S.C. § 3729(b)(e)

           135.    Relator repeats and reloads and hereby incorporates by reference paragraphs

    1 through 97 inclusive set out above as though fully set forth herein.



                                                    37
Case 1:16-cv-01090-NGG-TAM Document 63-2 Filed 05/03/23 Page 39 of 53 PageID #: 542



           136.    Defendants, and each of them have known that they had received overpayments

    under Medicare. Fresenius has known this for two reasons: First, Fresenius' more rigorous

    compliance program resulted in a nearly twenty percent drop in sales during the first full year

    after Shiel's acquisition, which certainly should have alerted Fresenius to the likelihood that

    Shiel had been engaging in fraudulent practices. Second, two of Shiel's leading malefactors,

    Jack Basch and Moshe Klaus, have continued in senior leadership positions for Fresenius.

           137.    Defendants have nonetheless refused to conduct audits that are within their

    power to conduct in the full knowledge that those audits would reveal the precise amount of

    overpayment refunds due Medicare because each of the previously enumerated false billing

    schemes.

           138.    Defendants' refusal to calculate or estimate the amount of overpayment

    refunds owed is a separate violation of 31 U.S.C. §3729(b)(3) of the False Claims Act.

                                               COUNT IV

                   VIOLATION OF THE NEW YORK FALSE CLAIMS ACT

               (NEW YORK STATE FINANCE LAW, - ARTICLE XIII §§ 187 et seq.)

           139.    Relator repeats and reloads and hereby incorporates by reference paragraphs

    1 through 97 inclusive set out above as though fully set forth herein.

           140.    The New York Medicaid Provider Enrollment Application requires a

    certification that the provider agrees to "abide by all applicable Federal and State laws as well

    as the rules and regulations of other New York State agencies peculiar to the type of program

    covered by this enrollment application."




                                                   38
Case 1:16-cv-01090-NGG-TAM Document 63-2 Filed 05/03/23 Page 40 of 53 PageID #: 543



            141.    The New York False Claims Act (NY State Finance Law, Ch. 56 of

    the Consolidated Laws - Article XIII §§187 et seq.) provides in pertinent part as

    follows:

                   §189. Liability for certain acts.

                    1. Subject to the provisions of subdivision two of this section, any
                    person who:

                    (a) knowingly presents, or causes to be presented, to any
                    employee, officer or agent of the state or a local government, a
                    false or fraudulent claim for payment or approval;

                    (b) knowingly makes, uses, or causes to be made or used, a false
                    record or statement material to a false or fraudulent claim;

                                                       ***



                    (g) knowingly makes, uses or causes to be made or used, a false
                    record or statement material to an obligation to pay or transmit
                    money or property to the state or local government;

                    shall be liable to the states or a local government as applicable, for
                    a civil penalty of not less than six thousand dollars and not more
                    than twelve thousand dollars, plus three times the amount of all
                    damages, including consequential damages, which the state or local
                    government sustains because of the act of that person.

           142.     Pursuant to Section 188(3) of the New York False Claims Act, proof of specific

    intent to defraud is not required.

           143.    As set forth herein, Defendant has violated the New York False Claims Act

    in New York State Finance Law Ch.56, Article XIII §§ 189(1)(a), 189(1)(b), 189(1)(c), and

    189(1)(g).

           144.    As explained in detail Defendants have submitted false claims and/or false

    records for laboratory tests for which there was no evidence of medical necessity or medical

    reasonableness, or which were procure through the use of illegal financial inducements; orboth.




                                                       39
Case 1:16-cv-01090-NGG-TAM Document 63-2 Filed 05/03/23 Page 41 of 53 PageID #: 544



           145.     As also explained in detail, Defendants have refused to calculate or

    repay overpayments despite knowledge that they have received substantial

    overpayments.

           146.     The Defendants knowingly violated N.Y. State Fin. Law § 189 and knowingly

    presented or caused to be made, used and presented hundreds of thousands of false claims to

    the State of New York from 2008 to the present, by violating the Federal Anti-Kickback Act,

    as described herein.

           147.     The State of New York, by and through the State of New York Medicaid program

    and other state health care programs, paid the false and/or fraudulent claims.

           148.     Given the structure of the health care systems, the false claims, statements,

    representations, material omissions, and/or records made by the Defendants had the potential

    to influence the State of New York's payment decision.

           149.     As a result of the Defendants' violations of N.Y. State Fin. Law § 189, the

    State of New York has been damaged.

           150.     For each violation of the New York False Claims Act, New York is entitled

    to recover treble damages from Defendant. See New York False Claims Act§189 (h).

           151.     In addition, for each violation of the New York False Claims Act, New York

    is entitled to recover from Defendant a civil penalty of not less than $6000, and not more

    than $12,000. Id.

           152.     There are no bars to recovery under N.Y. State Fin. Law. § 190(9), and, or in the

    alternative, Relator is an original source as defined therein. Relator is a private person with

    direct and independent knowledge of the allegations of this Complaint, who has brought this

    action pursuant to N.Y. State Fin. Law § 190(2) on behalf of himself and the State of New York.




                                                   40
Case 1:16-cv-01090-NGG-TAM Document 63-2 Filed 05/03/23 Page 42 of 53 PageID #: 545



    To the extent that any allegations or transactions herein have been publicly disclosed, Relator

    has knowledge that is independent of and materially adds to any publicly disclosed allegations

    or transactions. Contemporaneously with filing, Relator has provided all material documents

    related to this Complaint to the Attorney General of the State of New York. This Complaint

    details Relator's discovery and investigation of Defendants' fraudulent schemes and is

    supported by documentary evidence.

                                            COUNT V

                  VIOLATION OF THE NEW JERSEY FALSE CLAIMS ACT

           153.    Relator repeats and reloads and hereby incorporates by reference paragraphs

    1 through 107 inclusive set out above as though fully set forth herein.

           154.     The New Jersey Medicaid Provider Enrollment Application requires a

    certification that the provider agrees "to comply with all applicable State and Federal

    Medicaid laws and policies, and rules and regulations promulgated pursuant thereto      ,'




    and agrees "to comply with Section 1909 of P.L. 92-603, Section 242© which makes it a

    crime for persons found guilty of making any false statement or representation of a material

    fact in order to receiveany benefit or payment under the Medicaid Assistance program...."

    Provider AgreementBetween New Jersey Department of Health and Senior Service and

    Provider, at 1, Items 1 and 5.

                   § 2A:32C-3 of the New Jersey Statutes provides liability for any
                   person who-

                   (a) knowingly presents or causes to be presented to an employee,
                   officer or agent of the State, or to any contractor, grantee, or
                   other recipient of State funds, a false or fraudulent claim for
                   payment or approval;




                                                   41
Case 1:16-cv-01090-NGG-TAM Document 63-2 Filed 05/03/23 Page 43 of 53 PageID #: 546




                     (b) knowingly makes, uses, or causes to be made or used a
                     false record or statement to get a false or fraudulent claim paid
                     or approved by the State;

                     (c) conspires to defraud the State by getting a false or
                     fraudulent claim allowed or paid by the State.


                     (g) Knowingly makes, uses, or causes to be made or used orto
                     be used a false record or statement to conceal, avoid, or decrease
                     an obligation to pay or transmit money or property to the State.

              155.   Pursuant to §2A:32C-2 proof of specific intent to defraud is not required.

              156.   As explained in detail Defendants have submitted false claims and/or false

    records for laboratory tests for which there was no evidence of medical necessity or medical

    reasonableness, or which were procure through the use of illegal financial inducements; or both.

              157.   As also explained in detail, Defendants have refused to calculate or

    repay overpayments despite knowledge that they have received substantial

    overpayments.

              158.   The Defendants knowingly violated N.J. Stat. Ann. § 2A:32C-3 and

    knowingly presented false claims to the State of New Jersey from 2009 to the present, by

    violating the Federal Anti-Kickback Act, as described herein.

              159.   The State of New Jersey, by and through the State of New Jersey

    Medicaid program and other state health care programs, paid the false and/or fraudulent

    claims.

              160.   Given the structure of the health care systems, the false claims, statements,

    representations, material omissions, and/or records made by the Defendants had the potential

    to influence the State of New Jersey's payment decision.




                                                     42
Case 1:16-cv-01090-NGG-TAM Document 63-2 Filed 05/03/23 Page 44 of 53 PageID #: 547



            161.   As a result of the Defendants' violations of N.J. Stat. Ann. § 2A:32C-3189,

    the State of New Jersey has been damaged.

            162.   For each violation of the New Jersey False Claims Act, New Jersey is

  entitled to recover treble damages from Defendant under the New Jersey False Claims Act, N.J.

  Stat. Ann. §§ 2A:32-C1-2A:32-C18.

            163.   In addition, for each violation of the New Jersey False Claims Act, New Jersey

    is entitled to recover from Defendant a civil penalty of not less than $5,500, and not more than

    $11,000. Id.

            164.   There are no bars to recovery under N.J. Stat. Ann. § 2A:32C-9(c), and, or in the

    alternative, Relator is an original source as defined therein. Relator is a private person with

    direct and independent knowledge of the allegations of this Complaint, who has brought this

    action pursuant to N.J. Stat. Ann. § 2A:32C-5(b) on behalf of himself and the State of New

    Jersey. To the extent that any allegations or transactions herein have been publicly disclosed,

    Relator has knowledge that is independent of and materially adds to any publicly disclosed

    allegations or transactions. Contemporaneously with filing, Relator has provided all material

    documents related to this Complaint to the Attorney General of the State of New Jersey.

                                               COUNT VI

                                          (For John Doe Only)

                          ILLEGAL RETALIATION IN VIOLATION OF

                               THE FEDERAL FALSE CLAIMS ACT

           165.    Doe repeats and repleads each and every one of the allegations in Paragraphs

    1 through 135, inclusive, as though fully set forth herein.




                                                    43
Case 1:16-cv-01090-NGG-TAM Document 63-2 Filed 05/03/23 Page 45 of 53 PageID #: 548



            166.    Defendant Shiel moved its primary place of business to New Jersey. Since its

    sale to Fresenius, the laboratory business has been operated by Spectra Laboratories, in

    Rockleigh, New Jersey.

            167.    John Doe is one of the principals who formed the corporate entity which is the

    Relator in this action. At all times material hereto, Doe was employed first by Shiel and then by

    Spectra which is owned and controlled by Fresenius. Doe brings this claim anonymously

    because he has already been retaliated against and has been held up in a false light by Fresenius,

    and fears Fresenius' further retaliation will deprive him of the ability to support his family.

            168.    Defendants knew that there was a distinct possibility that Doe might become

    a whistle blower.

            169.   Doe made his dissatisfaction with Defendants' illegal conduct well known

    throughout the company. He made numerous complaints to the compliance officer, repeatedly

    voicing his concern that fabricating and submitting diagnostic codes was illegal and

    tantamount to Medicare fraud.

            170.   Doe also warned many of his sales colleagues that submitting codes was

    illegal and would get them and the company into trouble.

            171.    Doe also inadvertently used a company email account to forward an email to

    one of his lawyers, whose email address is mkleiman@quitam.org.

            172.   Since Fresenius has been a defendant in numerous qui tam cases and has paid

    hundreds of millions of dollars to the United States to settle allegations that it has committed

    Medicare fraud and Medicaid fraud, it is well aware that "qui tam" refers to a type of lawsuit

    brought by a whistle blower in the name of the United States.




                                                    44
Case 1:16-cv-01090-NGG-TAM Document 63-2 Filed 05/03/23 Page 46 of 53 PageID #: 549



                173.   Finally, as the Court is aware, in January 2017, Fresenius was made aware of

    the fact that a False Claims Act complaint had been filed against it.

                174.   On February 21, 2017, within a month of Fresenius receiving this

    information, Doe was fired while taking two of his children on a college tour.

                175.   In doing the things hereinabove alleged, Defendants Shiel Medical

    Laboratory; Shiel Holdings, LLC; Fresenius Medical Care; Fresenius Medical Care

    Holdings, Inc.; Spectra Holdco, LLC; and Doe 3, inclusive, violated 31 U.S.C.§3730(h).

                176.   As a direct legal consequence of his wrongful firing, Doe has lost, and

    shall continue to lose income, commissions, bonuses, and other valuable benefits in an

    amount uncertain as of this moment, but to be plead and proven at trial.

                177.   As a consequence of his wrongful firing, Doe has suffered and shall continue

    to suffer anxiety and emotional distress in an amount uncertain as of this moment, but to be

    plead and proven at trial.

               178.    As a consequence of his wrongful firing, Doe has incurred and shall continue to

   incur legal fees and costs in an amount uncertain as of this moment, but to be plead and proven

   at trial.

                                                 COUNT VII

                                            (For John Doe Only)

                             ILLEGAL RETALIATION IN VIOLATION OF

               THE NEW JERSEY CONSCIENTIOUS EMPLOYEE PROTECTION ACT

               179.    Doe repeats and repleads each and every one of the allegations in Paragraphs

    1 through 149, inclusive set out above, as though fully set forth herein.




                                                      45
Case 1:16-cv-01090-NGG-TAM Document 63-2 Filed 05/03/23 Page 47 of 53 PageID #: 550



            180.   In raising these complaints and issuing these warnings, Doe had an

    objectively reasonable and good faith belief that the conduct he was decrying violated the

    federal False Claims Act and various state statutes, as enumerated supra.

            181.   In doing the things hereinabove alleged, Defendants Shiel Medical Laboratory;

    Shiel Holdings, LLC; Fresenius Medical Care; Fresenius Medical Care Holdings, Inc.; Spectra

    Holdco, LLC; and Doe 3, inclusive, violated N.J.S.A. 34:19- 1, et. seq. 31 U.S.C. §3730(h),

    directly and legally causing damage to Doe as hereinabove alleged.

                                        PRAYER FOR RELIEF

                                           Counts I through V

        WHEREFORE, the Relator demands and prays that judgment be entered in favor of the

    United States and the States of New York and New Jersey in against Defendants as follows:

           1.      For the amount of the damages to the United States or the State of New York

    or the State of New Jersey, trebled as required by law, and such civil penalties as are authorized

    by law, together with all such further relief as may be just and proper;

           2.      For the Relator, the maximum amount of the Relator's share allowed by law;

           3.      Reimbursement for all reasonable expenses that Relator incurred in

    connection with this action;

           4.      An award of reasonable attorneys' fees and costs; and

           5.      Such further relief as this Court deems just and proper.

                                                Count VI

           WHEREFORE, one of the Relator's Principals, John Doe, demands and prays that

    judgment be entered in his favor against Defendants Shiel Medical Laboratory; Shiel Holdings,

    LLC; Fresenius Medical Care; Fresenius Medical Care Holdings, Inc.; Spectra Holdco, LLC; and

    Doe 3, inclusive, as follows:

                                                    46
Case 1:16-cv-01090-NGG-TAM Document 63-2 Filed 05/03/23 Page 48 of 53 PageID #: 551



           6.      For two times Doe's lost earnings and benefits;

           7.      For all future lost earnings and benefits;

           8.      For an amount sufficient to compensate Doe for his pain, suffering,

                   and emotional distress;

            9.      Reimbursement for all reasonable expenses, including, inter alia, attorney's fees,

                    that Doe incurred in connection with this action; and

            10.     Such further relief as this Comi deems just and proper.

                                                 Count VII

            WHEREFORE, one of the Relator's Principals, John Doe, demands and prays that

     judgment be entered in his favor against Defendants Shiel Medical Laboratory; Shiel Holdings,

     LLC; Fresenius Medical Care; Fresenius Medical Care Holdings, Inc.; Spectra Holdco, LLC; and

     Doe 3, inclusive, as follows:

            11.    For Doe's lost earnings and benefits;

            12.    For all future lost earnings and benefits;

            13.    For an amount sufficient to compensate Doe for his pain, suffering, and

                   emotional distress;

            14.    For punitive or exemplary damages in an amount sufficient to punish the

                   Defendants and to deter future similar misconduct;

            15.    Reimbursement for all reasonable expenses, including, inter alia, attorney's fees,

                   that Doe incurred in connection with this action; and

            16.    Such further relief as this Court deems just and proper.




                                                   47
Case 1:16-cv-01090-NGG-TAM Document 63-2 Filed 05/03/23 Page 49 of 53 PageID #: 552



                                      Respectfully submitted,




   Dated:          , 2023
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   Dated:         , 2023              KLEIMAN / RAJARAM




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   Dated:          , 2023             HALLORAN SAGE, LLP




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                                        49
Case 1:16-cv-01090-NGG-TAM Document 63-2 Filed 05/03/23 Page 51 of 53 PageID #: 554



                                    DEMAND FOR JURY TRIAL

   The Relator demands a jury trial in this case.

                                                    Respectfully submitted,




   Dated:               2023
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   Dated:             , 2023                        KLEIMAN / RAJARAM




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                                                      50
Case 1:16-cv-01090-NGG-TAM Document 63-2 Filed 05/03/23 Page 52 of 53 PageID #: 555




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                                        51
Case 1:16-cv-01090-NGG-TAM Document 63-2 Filed 05/03/23 Page 53 of 53 PageID #: 556



                                   CERTIFICATION OF SERVICE




          The undersigned certifies that on                  a copy of the foregoing

  THIRD AMENDED COMPLAINT FOR VIOLATIONS OF FEDERAL FALSE CLAIMS ACT

  was placed in the United States Mail, Certified Mail/Return Receipt Requested, first class, postage

  prepaid, addressed to:



  Michael D. Kass                                        Rachel G. Balaban
  Trial Attorney                                         Assistant U.S. Attorney
  U.S. Department of Justice, Civil Division             United States Attorney's Office
  Commercial Litigation Branch, Fraud Section            Eastern District of New York
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                                                  52
